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                Exhibit A - Signed Retention Order Page 1 of 4




                         EXHIBIT A
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                                                                                      4/25/2008
      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

      Alan D. Halperin, Esq.
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      (212) 765-9100

      Proposed Attorneys for the Official Committee
      of Unsecured Creditors


      In re:                                                Chapter 11

      SHAPES/ARCH HOLDINGS L.L.C., et al.,                  Case No. 08-14631
                                                            (Jointly Administered)
                                Debtors.
                                                            Judge: Hon. Gloria M. Burns, USBJ


                      ORDER AUTHORIZING THE RETENTION OF HALPERIN
                            BATTAGLIA RAICHT, LLP AS COUNSEL
                        TO THE OFFICIAL COMMITTEE OF UNSECURED
                        CREDITORS, NUNC PRO TUNC, TO MARCH 31, 2008

                The relief set forth on the following pages, numbered two (2) and three (3), is hereby

      ORDERED.




DATED: 4/25/2008




      {00061561.1 / 0631-001}
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  Debtor:              SHAPES/ARCH HOLDINGS L.L.C., et al.
  Case No.             08-14631(GMB)
  Caption of Order:    ORDER AUTHORIZING THE RETENTION OF HALPERIN
                       BATTAGLIA RAICHT, LLP AS COUNSEL TO THE OFFICIAL
                       COMMITTEE OF UNSECURED CREDITORS, NUNC PRO
                       TUNC, TO MARCH 31, 2008


                      Upon the application of the Official Joint Committee of Unsecured Creditors

  (the “Committee”) of Shapes/Arch Holdings, L.L.C., et al., the above-captioned debtors and

  debtors-in-application for authority to retain Halperin Battaglia Raicht, LLP (“HBR”), as

  bankruptcy counsel to the Committee, under a general retainer, nunc pro tunc to March 31,

  2008; and upon the affidavit of Alan D. Halperin; and due and adequate notice of the

  application having been provided, as evidenced by the certificate of service filed with this

  Court; and the Court having jurisdiction to consider the application and the relief requested

  therein in accordance with 28 U.S.C. §§157 and 1334; and consideration of the application

  and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §157(b); and

  venue being proper before this Court pursuant to 28 U.S.C. §1409; and the Court being

  satisfied that (a) the employment of HBR is necessary and in the best interests of the

  Committee, unsecured creditors, and the estates, (b) HBR does not have or represent any

  interest adverse to the Committee or the estates, and (c) HBR is a “disinterested person” as

  that term is defined in §101(14) of Title 11 of the United States Code (the “Bankruptcy

  Code”); and good and sufficient cause appearing for the relief sought by the application; it is

                      ORDERED, that pursuant to §1103(a) of the Bankruptcy Code, the

  Committee is hereby authorized to retain HBR, as bankruptcy counsel to the Committee,

  under a general retainer, nunc pro tunc to March 31, 2008; and it is further




  {00061561.1 / 0631-001}
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                                                             Approved by Judge Gloria M. Burns April 25, 2008
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  Debtor:              SHAPES/ARCH HOLDINGS L.L.C., et al.
  Case No.             08-14631(GMB)
  Caption of Order:    ORDER AUTHORIZING THE RETENTION OF HALPERIN
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                       COMMITTEE OF UNSECURED CREDITORS, NUNC PRO
                       TUNC, TO MARCH 31, 2008


                      ORDERED, that HBR shall be compensated in accordance with the

  procedures set forth in §§330 and 331 of the Bankruptcy Code, the Federal Rules of

  Bankruptcy Procedure, and any orders issued by this Court.

                      ORDERED, that a copy of this Order shall be served on all parties-in-

  interest within seven (7) days hereof.




  {00061561.1 / 0631-001}
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                                                             Approved by Judge Gloria M. Burns April 25, 2008
